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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                 12/7/20



  United States of America,

                 –v–
                                                                  20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                       ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court is in receipt of the Defendant’s December 4, 2020 letter, Dkt. No. 85, and

hereby sets the following schedule:

       -    The Defendant’s submission is due December 8, 2020;

       -    The Government’s response is due December 16, 2020;

       -    The Defendant’s reply is due December 18, 2020.

       After reviewing these submissions, the Court will determine whether a hearing on the

renewed bail motion is necessary.

       The Court grants the Defendant’s request that the Government shall file its submission

under seal with proposed redactions. Any objections to proposed redactions are due within 24

hours after any brief has been filed.

       Finally, the Defendant is granted leave to file a motion not to exceed 40 pages. The

Government’s response shall also be limited to 40 pages. The Defendant’s reply shall not exceed

10 pages.

       SO ORDERED.

Dated: December 7, 2020                        __________________________________
       New York, New York                                ALISON J. NATHAN
                                                       United States District Judge
